     Case 1:18-cv-01204-JTN-ESC ECF No. 8 filed 01/03/19 PageID.20 Page 1 of 7



                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN

LARRY SEVENSKI,

          Plaintiff,
                                              No. 1:18-cv-01204
v.
                                              HON. JANET T. NEFF
BROCK ARTFITCH, in his individual
and official capacity,

          Defendant.


Christopher J. Trainor (P42449)               John G. Fedynsky (P65232)
Amy J. Derouin (P70514)                       Assistant Attorney General
Attorneys for Plaintiff                       Attorney for Defendant
Christopher Trainor & Associates              Michigan Dep’t of Attorney General
9750 Highland Road                            Complex Litigation Division
White Lake, MI 48386                          P.O. Box 30736
(248) 886-8650                                Lansing, MI 48909
amy.derouin@cjtrainor.com                     (517) 335-3055
                                              fedynskyj@michigan.gov


      DEFENDANT’S CORRECTED ANSWER TO COMPLAINT AND JURY
              DEMAND WITH AFFIRMATIVE DEFENSES

          Defendant, Brock Artfitch, by and through counsel, answers Plaintiff’s

Complaint and Jury Demand, by like-numbered paragraphs as follows:

     1.       Plaintiff is currently a resident of the Township of Elmira, County of

              Otsego, State of Michigan.

              ANSWER: Defendant neither admits nor denies the allegations

              because he lacks knowledge or information sufficient to form a

              belief as to their truth.
Case 1:18-cv-01204-JTN-ESC ECF No. 8 filed 01/03/19 PageID.21 Page 2 of 7



2.    Defendant Brock Artfitch was and/or is a police officer working and/or

      assigned to the Michigan State Police and at all times mentioned herein

      were acting under color of law, in their individual and official capacities,

      and within the course and scope of their employment.

      ANSWER: Defendant admits the allegations.

3.    All events giving rise to this lawsuit occurred in the Township of Elmira,

      County of Antrim, State of Michigan.

      ANSWER: Defendant denies the allegations as untrue.

4.    This lawsuit arises out of Defendant’s violation of Plaintiff’s federal

      constitutional rights as secured by the Fourth Amendment as it applies to

      the States through the Fourteenth Amendment to the United States

      Constitution and consequently, Plaintiff has a viable claim for damages

      under 42 U.S.C. §1983. Plaintiff also has viable state law claims.

      ANSWER: Defendant denies the allegations as untrue.

5.    Jurisdiction is vested in this Court pursuant to 28 U.S.C. §1331 [federal

      question] and 28 U.S.C. § 1343 [civil rights].

      ANSWER: Defendant does not contest this Court’s subject matter

      jurisdiction, but Defendant does deny that Plaintiff has any viable

      claims.

6.    That the amount in controversy exceeds Seventy-Five Thousand Dollars

      ($75,000.00), not including interest, costs, and attorney fees.

      ANSWER: Defendant denies the allegations as untrue.



                                       2
Case 1:18-cv-01204-JTN-ESC ECF No. 8 filed 01/03/19 PageID.22 Page 3 of 7




                                   FACTS

7.    Plaintiff realleges and incorporates by reference each and every

      paragraph of this Complaint as though fully set forth herein.

      ANSWER: Defendant incorporates all prior responses.

8.    That on March 17, 2017, Plaintiff was driving on Thumm Rd. in Elmira,

      Michigan.

      ANSWER: Defendant admits the allegations.

9.    Defendant Brock Artfitch performed a traffic stop on Plaintiff.

      ANSWER: Defendant admits the allegations.

10.   Plaintiff immediately exited his vehicle.

      ANSWER: Defendant admits the allegations.

11.   Defendant then exited his patrol vehicle and approached Plaintiff.

      ANSWER: Defendant denies the allegations as untrue. In further

      response, Defendant states that Plaintiff advanced towards

      Defendant, refused to comply with verbal directions, stated he

      (Plaintiff) wished he had a weapon, and made a fist in

      preparation to punch Defendant.

12.   Defendant Artfitch placed his hand on Plaintiff’s chest and pushed him

      backwards.

      ANSWER: Defendant admits the same but objects to this

      paragraph omitting the relevant context.




                                      3
Case 1:18-cv-01204-JTN-ESC ECF No. 8 filed 01/03/19 PageID.23 Page 4 of 7



13.   Defendant Artfitch then grabbed Plaintiff’s left arm and pulled on it.

      ANSWER: Defendant admits the same but objects to this

      paragraph omitting the relevant context.

14.   Defendant Artfitch then threw Plaintiff to the ground causing Plaintiff to

      hit his face and arm on the ground.

      ANSWER: Defendant admits using a straight arm bar takedown in

      response to Plaintiff’s active aggression and threatening

      behavior.

15.   Plaintiff was transported via ambulance to McLaren Northern Michigan

      Hospital for his injuries.

      ANSWER: Defendant admits the allegations.

16.   As a result of Defendant’s unlawful and excessive actions and/or inactions,

      Plaintiff suffered significant injuries and damages.

      ANSWER: Defendant denies the allegations as untrue.

                                  COUNT I
                VIOLATION OF THE FOURTH AMENDMENT
                    42 U.S.C. § 1983 EXCESSIVE FORCE

17.   Plaintiff realleges and incorporates by reference each and every

      paragraph ofthis Complaint as though fully set forth herein.

      ANSWER: Defendant incorporates all prior responses.

18.   At all relevant times herein, the individual Defendant acted under color of

      law, within the scope and course of their employment, and in their official

      and individual capacities.



                                      4
Case 1:18-cv-01204-JTN-ESC ECF No. 8 filed 01/03/19 PageID.24 Page 5 of 7



      ANSWER: Defendant admits the allegations.

19.   Defendant violated Plaintiff’s clearly established and federally protected

      rights as set forth under the United States Constitution and the

      Amendments thereto, including, but not limited to, the Fourth

      Amendment of the United States Constitution to be free from

      unreasonable searches and seizures mainly to be free from excessive use

      of force, when they employed unnecessary and unreasonable excessive

      force which resulted in significant injuries to Plaintiff.

      ANSWER: Defendant denies the allegations as untrue.

20.   The actions of Defendant was at all times objectively unreasonable in

      violation of Plaintiff’s clearly established rights under the Fourth

      Amendment to the United States Constitution which proximately resulted

      in significant injuries to Plaintiff.

      ANSWER: Defendant denies the allegations as untrue.

21.   Defendant is not not [sic] entitled to qualified immunity because he

      violated Plaintiff’s clearly established Fourth Amendment right to be free

      from excessive use of force.

      ANSWER: Defendant denies the allegations as untrue.

22.   As a proximate result of the violations and/or deprivations of Plaintiff’s

      constitutional rights by Defendant, Plaintiff has a viable claim for

      compensatory and punitive damages pursuant to 42 U.S.C. § 1983




                                         5
  Case 1:18-cv-01204-JTN-ESC ECF No. 8 filed 01/03/19 PageID.25 Page 6 of 7



           together with costs, interests, and attorney fees as set forth in 42 U.S.C. §

           1988.

           ANSWER: Defendant denies the allegations as untrue.


        Defendant respectfully requests that this Court dismiss all claims and grant

any other appropriate relief to Defendant.


               DEFENDANT’S RELIANCE UPON JURY DEMAND


        Defendant relies upon the jury demand filed in this matter and will pay any

fee upon proper notification by the Court.


                            AFFIRMATIVE DEFENSES

   1.      Some or all of Plaintiff’s losses and damages, if any, were caused by

           Plaintiff’s own conduct or the conduct of others and not attributable to

           Defendant.

   2.      Defendant is entitled to qualified immunity or other immunity granted by

           federal law.

   3.      To the extent that Plaintiff attempts to bring claims against Defendant in

           his official capacity, the Eleventh Amendment bars such claims.

   4.      Defendant objects to any failure by Plaintiff to join all claims and parties

           required to be joined.

   5.      Defendant reserves the right to raise further defenses or assert other

           matters revealed by continuing investigation and discovery, including all



                                             6
  Case 1:18-cv-01204-JTN-ESC ECF No. 8 filed 01/03/19 PageID.26 Page 7 of 7



         defenses available under Federal Rules of Civil Procedure 12 and 56, upon

         the completion of discovery and as the Court permits.

                                              Respectfully submitted,

                                              Bill Schuette
                                              Attorney General

                                              /s/John G. Fedynsky
                                              John G. Fedynsky (P65232)
                                              Assistant Attorney General
                                              Attorney for Defendant
                                              Complex Litigation Division
                                              P.O. Box 30736
                                              Lansing, MI 48909
                                              (517) 335-3055
January 3, 2019                               fedynskyj@michigan.gov




                          CERTIFICATE OF SERVICE

       I hereby certify that on the 3rd day of January 2019, I electronically filed
the foregoing paper with the Clerk of the Court using the ECF system which will
send notification of such.

                                              /s/John G. Fedynsky
                                              John G. Fedynsky
                                              Assistant Attorney General
                                              Attorney for Defendant




                                          7
